               Case 19-69141-sms                           Doc 2     Filed 11/30/19 Entered 11/30/19 09:23:19                       Desc Main
                                                                     Document      Page 1 of 8
  Fill in this information to identify your case:
  Debtor 1           Karlita             Octavia                          Small
                          First Name                 Middle Name           Last Name
  Debtor 2
  (Spouse, if filing)     First Name                 Middle Name           Last Name
                                                                                                                       Check if this is an amended plan, and
  United States Bankruptcy Court for the NORTHERN DISTRICT OF GEORGIA                                                  list below the sections of the plan that
                                                                                                                       have been changed. Amendments to
                                                                                                                       sections not listed below will be
                                                                                                                       ineffective even if set out later in this
  Case number:                                                                                                         amended plan.
  (If known)




Chapter 13 Plan
NOTE:                      The United States Bankruptcy Court for the Northern District of Georgia adopted this form plan for use in Chapter 13
                           cases in the District pursuant to Federal Rule of Bankruptcy Procedure 3015.1. See Order Requiring Local Form for
                           Chapter 13 Plans and Establishing Related Procedures, General Order No. 21-2017, available in the Clerk’s Office and on
                           the Bankruptcy Court’s website, ganb.uscourts.gov. As used in this plan, “Chapter 13 General Order” means General
                           Order No. 21-2017 as it may from time to time be amended or superseded.

  Part 1:       Notices

To Debtor(s):              This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not indicate that
                           the option is appropriate in your circumstances. Plans that do not comply with the United States Bankruptcy Code, local rules and
                           judicial rulings may not be confirmable.

                           In the following notice to creditors, you must check each box that applies.

To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                           Check if applicable.

                                The plan provides for the payment of a domestic support obligation (as defined in 11 U.S.C. § 101(14A)), set out in §
                                4.4.

                           You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                           an attorney, you may wish to consult one.

                           If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                           confirmation at least 7 days before the date set for the hearing on confirmation, unless the Bankruptcy Court orders otherwise.
                           The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See Bankruptcy Rule
                           3015.

                           To receive payments under this plan, you must have an allowed claim. If you file a timely proof of claim, your claim is deemed
                           allowed unless a party in interest objects. See 11 U.S.C. § 502(a).

                           The amounts listed for claims in this plan are estimates by the debtor(s). An allowed proof of claim will be
                           controlling, unless the Bankruptcy Court orders otherwise.

                           The following matters may be of particular importance. Debtor(s) must check one box on each line to state whether or
                           not the plan includes each of the following items. If an item is checked as “Not included,” if both boxes are
                           checked, or if no box is checked, the provision will be ineffective even if set out later in the plan.

  § 1.1        A limit on the amount of a secured claim, that may result in a partial payment or no               Included                    Not Included
               payment at all to the secured creditor, set out in § 3.2
  § 1.2        Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,                Included                    Not Included
               set out in § 3.4
  § 1.3        Nonstandard provisions, set out in Part 8.                                                         Included                    Not Included




U.S. Bankruptcy Court, N.D. Ga. Chapter 13 Plan Form (April 2018), Version 1.3                                                           Page 1 of 8
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             Case 19-69141-sms                             Doc 2     Filed 11/30/19 Entered 11/30/19 09:23:19                         Desc Main
                                                                     Document      Page 2 of 8
  Debtor                Karlita Octavia Small                                                      Case number

  Part 2:       Plan Payments and Length of Plan; Disbursement of Funds by Trustee to Holders of Allowed Claims

§ 2.1        Regular Payments to the trustee; applicable commitment period.


             The applicable commitment period for the debtor(s) as set forth in 11 U.S.C. § 1325(b)(4) is:

                 Check one:                     36 months               60 months

             Debtor(s) will make regular payments (“Regular Payments”) to the trustee as follows:

The debtor(s) will pay $2,100.00 per month for the applicable commitment period. If the applicable commitment period is 36 months, additional
Regular Payments will be made to the extent necessary to make the payments to creditors specified in this plan, not to exceed 60 months unless the
Bankruptcy Court orders otherwise. If all allowed claims treated in § 5.1 of this plan are paid in full prior to the expiration of the applicable
commitment period, no further Regular Payments will be made.

Check if applicable.
   The amount of the Regular Payment will change as follows (If this box is not checked, the rest of § 2.1 need not be completed or reproduced.
   Insert additional lines as needed for more changes.):

  Beginning on                               The Regular Payment amount will change to         For the following reason (insert reason for change):
  (insert date):                             (insert amount):

  May 30, 2020                               $2353.00 per month                                End of 401(k) loan in 04/2020


§ 2.2        Regular Payments; method of payment.

             Regular Payments to the trustee will be made from future income in the following manner:

             Check all that apply:
                       Debtor(s) will make payments pursuant to a payroll deduction order. If a deduction does not occur, the debtor(s) will pay to the
                       trustee the amount that should have been deducted.

                           Debtor(s) will make payments directly to the trustee.

                           Other (specify method of payment):


§ 2.3        Income tax refunds.

             Check one.

                           Debtor(s) will retain any income tax refunds received during the pendency of the case.

                           Debtor(s) will (1) supply the trustee with a copy of each income tax return filed during the pendency of the case within 30 days
                           of filing the return and (2) turn over to the trustee, within 30 days of the receipt of any income tax refund during the applicable
                           commitment period for tax years 2019-2023              , the amount by which the total of all of the income tax refunds received for
                           each year exceeds $2,000 (“Tax Refunds”), unless the Bankruptcy Court orders otherwise. If debtor's spouse is not a debtor in
                           this case, "tax refunds received" means those attributable to the debtor.

                           Debtor(s) will treat tax refunds (“Tax Refunds”) as follows:


§ 2.4        Additional Payments.

             Check one.

                           None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

§ 2.5        [Intentionally omitted.]


U.S. Bankruptcy Court, N.D. Ga. Chapter 13 Plan Form (April 2018), Version 1.3                                                             Page 2 of 8
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             Case 19-69141-sms                             Doc 2     Filed 11/30/19 Entered 11/30/19 09:23:19                          Desc Main
                                                                     Document      Page 3 of 8
  Debtor                Karlita Octavia Small                                                        Case number

§ 2.6        Disbursement of funds by trustee to holders of allowed claims.

             (a) Disbursements before confirmation of plan. The trustee will make preconfirmation adequate protection payments to holders of
                 allowed claims as set forth in §§ 3.2 and 3.3.

             (b) Disbursements after confirmation of plan. Upon confirmation, after payment of the trustee’s statutory fee, the trustee will disburse
                 Regular Payments, Additional Payments, and Tax Refunds that are available for disbursement to make payments to holders of allowed
                 claims as follows:

                           (1) First disbursement after confirmation of Regular Payments. In the first disbursement after confirmation, the trustee will
                           disburse all available funds from Regular Payments in the following order:

                                (A) To pay any unpaid preconfirmation adequate protection payments required by 11 U.S.C. § 1326(a)(1)(C) as set forth in §
                                3.2, § 3.3, and orders of the Bankruptcy Court;

                                (B) To pay fees, expenses, and costs of the attorney for the debtor(s) as set forth in § 4.3;

                                (C) To make payments pro rata based on the monthly payment amount: on secured claims as set forth in §§ 3.1, 3.2, 3.3, and
                                3.4; on domestic support obligations as set forth in § 4.4; on the arrearage claims on nonpriority unsecured claims as set forth
                                in § 5.2; and on executory contracts and unexpired leases as set forth in § 6.1; and

                                (D) To pay claims in the order set forth in § 2.6(b)(3).

                           (2) Second and subsequent disbursement after confirmation of Regular Payments. In the second disbursement after
                           confirmation, and each month thereafter, the trustee will disburse all available funds from Regular Payments in the order below.
                           All available Regular Payments will be distributed to the claims in each paragraph until such claims are paid in full.

                                (A) To make concurrent monthly payments, including any amount past due under this plan: on secured claims as set forth in
                                §§ 3.1, 3.2, 3.3, and 3.4; on fees, expenses, and costs of the attorney for the debtor(s) as set forth in § 4.3; on domestic
                                support obligations as set forth in § 4.4; on the arrearage claims on both nonpriority unsecured claims as set forth in § 5.2 and
                                executory contracts and unexpired leases as set forth in § 6.1;

                                (B) To make pro rata payments on administrative expenses allowed under 11 U.S.C. § 503(b) other than the trustee’s fee and
                                the debtor’s attorney’s fees, expenses, and costs; and

                                (C) To pay claims in the order set forth in § 2.6(b)(3).

                           (3) Disbursement of Additional Payments and Tax Refunds. The trustee will disburse the Additional Payments and Tax
                           Refunds in the following order:

                                (A) To pay fees, expenses, and costs of the attorney for the debtor(s) as set forth in § 4.3;

                                (B) To make pro rata payments on administrative expenses allowed under 11 U.S.C. § 503(b) other than the trustee’s fee and
                                the debtor’s attorney’s fees, expenses, and costs;

                                (C) To make payments pro rata based on the monthly payment amount: on secured claims as set forth in §§ 3.1, 3.2, 3.3, and
                                3.4; on domestic support obligations as set forth in § 4.4; on the arrearage claims on both nonpriority unsecured claims as set
                                forth in § 5.2 and executory contracts and unexpired leases as set forth in § 6.1;

                                (D) To pay other Allowed Secured Claims as set forth in § 3.6;

                                (E) To pay allowed claims entitled to priority under 11 U.S.C. § 507, other than administrative expenses and domestic
                                support obligations; and

                                (F) To pay nonpriority unsecured claims not otherwise classified as set forth in § 5.1 (“Unclassified Claims”) and to pay
                                nonpriority unsecured claims separately classified as set forth in § 5.3 (“Classified Claims”). The trustee will estimate the
                                total amounts to be disbursed during the plan term (1) to pay Unclassified Claims and (2) to pay Classified Claims. Funds
                                available for disbursement on these claims will be allocated pro rata to each class, and the funds available for disbursement
                                for each class will be paid pro rata to the creditors in the class.

                           (4) Unless the debtor(s) timely advise(s) the trustee in writing, the trustee may treat and disburse any payments received from the
                           debtor(s) as Regular Payments.


U.S. Bankruptcy Court, N.D. Ga. Chapter 13 Plan Form (April 2018), Version 1.3                                                              Page 3 of 8
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             Case 19-69141-sms                             Doc 2     Filed 11/30/19 Entered 11/30/19 09:23:19                           Desc Main
                                                                     Document      Page 4 of 8
  Debtor                Karlita Octavia Small                                                        Case number

  Part 3:       Treatment of Secured Claims

§ 3.1        Maintenance of payments and cure of default, if any.

             Check one.

                           None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.
                           Beginning with the first payment that is due after the date of the order for relief under Chapter 13, the debtor(s) will maintain the
                           current contractual installment payments on the secured claims listed below, with any changes required by the applicable
                           contract and noticed in conformity with any applicable rules. These payments will be disbursed directly by the debtor(s). Any
                           existing arrearage on a listed claim will be paid in full through disbursements by the trustee, with interest, if any, at the rate
                           stated below.

                   If relief from the automatic stay is ordered as to any item of collateral listed in this paragraph, then, unless the Bankruptcy Court
                   orders otherwise, all payments under this paragraph as to that collateral will cease, and all secured claims based on that collateral
                   will no longer be treated by the plan.
  Name of creditor                  Collateral                                  Estimated amount of           Interest rate on     Monthly plan
                                                                                arrearage (if any)            arrearage            payment on
                                                                                                              (if applicable)      arrearage

                                                3578 Rosebud Park Court
                                                Snellville, GA 30039
  Bank of America, N.A.                         (Debtor's residence)                           $47,347.00                  0.00%                    $800.00


                                                3578 Rosebud Park Court
                                                Snellville, GA 30039
  PHH Mortgage                                  (Debtor's residence)                           $12,492.00                  0.00%                    $225.00


                                                3578 Rosebud Park Court
  Georgia Department of                         Snellville, GA 30039
  Revenue                                       (Debtor's residence)                             $888.00                   0.00%                     $40.00



§ 3.2        Request for valuation of security, payment of fully secured claims, and modification of undersecured claims.


                           None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.
                           The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.


§ 3.3        Secured claims excluded from 11 U.S.C. § 506.

             Check one.

                           None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
                           The claims listed below were either:

                           (1) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle
                           acquired for the personal use of the debtor(s), or

                           (2) incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of value.

                           These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed by the
                           trustee.

                           The trustee will make monthly preconfirmation adequate protection payments that 11 U.S.C. § 1326(a)(1)(C) requires to the
                           creditor in the amount set out in the column headed Monthly preconfirmation adequate protection payment.

                           The holder of any claim listed below will retain the lien on the property interest of the debtor(s) or the estate(s) until the earlier
                           of:
U.S. Bankruptcy Court, N.D. Ga. Chapter 13 Plan Form (April 2018), Version 1.3                                                               Page 4 of 8
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             Case 19-69141-sms                             Doc 2      Filed 11/30/19 Entered 11/30/19 09:23:19                         Desc Main
                                                                      Document      Page 5 of 8
  Debtor                Karlita Octavia Small                                                      Case number


                           (a) payment of the underlying debt determined under nonbankruptcy law, or

                           (b) payment of the amount of the secured claim, with interest at the rate set forth below, and discharge of the underlying debt
                           under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the creditor.

  Name of Creditor                      Collateral                   Purchase     Estimated      Interest rate     Monthly                   Monthly
                                                                     date         amount of                        preconfirmation           postconfirmation
                                                                                  claim                            adequate                  payment to creditor
                                                                                                                   protection                by trustee
                                                                                                                   payment

  Bridgecrest                           2015 Buick Enclave           08/02/2018    $19,561.00        5.00%              $150.00                    $400.00

                                        Fairfield Orlando at
  Bonnet Creek Resort                   Bonnet Creek
  VCA, Inc. /                           Resort
  Wyndham Vacation                      9560 Via Encinas                2007        $1,000.00         0.0%                $0.00                     $25.00
  Resorts, Inc.                         Orlando, FL 32830
                                        (Timeshare)


§ 3.4        Lien avoidance.

Check one.

                           None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

§ 3.5        Surrender of collateral.

             Check one.

                           None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

§ 3.6        Other Allowed Secured Claims.

             A proof of claim that is filed and allowed as a secured claim, but is not treated as a secured claim in this plan, shall be paid with interest at
             the rate of 6.00 %. Payments will commence as set forth in § 2.6. Notwithstanding the foregoing, the debtor(s), and any other party in
             interest, may: object to allowance of the claim; request that the Bankruptcy Court determine the value of the secured claim if modification
             of the claim is permissible and if 11 U.S.C. § 506 is applicable; or request that the Bankruptcy Court avoid the creditor’s lien pursuant to 11
             U.S.C. § 522(f), if applicable.

             If the Bankruptcy Court determines the value of the secured claim, the portion of any allowed claim that exceeds the amount of the secured
             claim will be treated as an unsecured claim under Part 5 of this plan.

             The holder of the claim will retain the lien on the property interest of the debtor(s) or the estate(s) until the earlier of:

             (a) payment of the underlying debt determined under nonbankruptcy law, or

             (b) payment of the amount of the secured claim, with interest at the rate set forth above, and discharge of the underlying debt under 11
             U.S.C. § 1328, at which time the lien will terminate and be released by the creditor.

  Part 4:       Treatment of Fees and Priority Claims

§ 4.1        General.

             Trustee’s fees and all allowed priority claims will be paid in full without postpetition interest. An allowed priority claim will be paid in full
             regardless of whether it is listed in § 4.4.

§ 4.2        Trustee’s fees.

             Trustee’s fees are governed by statute and may change during the course of the case.


U.S. Bankruptcy Court, N.D. Ga. Chapter 13 Plan Form (April 2018), Version 1.3                                                                Page 5 of 8
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             Case 19-69141-sms                             Doc 2     Filed 11/30/19 Entered 11/30/19 09:23:19                         Desc Main
                                                                     Document      Page 6 of 8
  Debtor                Karlita Octavia Small                                                     Case number


§ 4.3        Attorney’s fees.

             (a) The unpaid fees, expenses, and costs owed to the attorney for the debtor(s) in connection with legal representation in this case are
             $ 4,000.00 . The allowance and payment of the fees, expenses and costs of the attorney for the debtor(s) are governed by General
             Order 22-2017 (“Chapter 13 Attorney’s Fees Order”), as it may be amended.

             (b) Upon confirmation of the plan, the unpaid amount shall be allowed as an administrative expense under 11 U.S.C. § 503(b) to the extent
             set forth in the Chapter 13 Attorney’s Fees Order.

             (c) The Bankruptcy Court may allow additional fees, expenses, and costs to the attorney for debtor(s) in excess of the amount shown in §
             4.3(a) above upon application of the attorney in compliance with the Chapter 13 Attorney’s Fees Order and after notice and a hearing.

             (d) From the first disbursement after confirmation, the attorney will receive payment under § 2.6(b)(1) up to the allowed amount set forth in
             § 4.3(a).

             (e) The unpaid balance and any additional amounts allowed under § 4.3(c) will be payable (1) at $ 400.00 per month from Regular
             Payments and (2) from Tax Refunds or Additional Payments, as set forth in § 2.6, until all allowed amounts are paid in full.

             (f) If the case is converted to Chapter 7 before confirmation of the plan, the debtor(s) direct(s) the trustee to pay to the attorney for the
             debtor(s) the amount of $ 1500.00 , not to exceed the maximum amount that the Chapter 13 Attorney’s Fees Order permits. If the
             attorney for the debtor(s) has complied with the applicable provisions of the Chapter 13 Attorney’s Fees Order, the trustee will deliver,
             from the funds available, the stated amount or the maximum amount to the attorney, whichever is less.

             (g) If the case is dismissed before confirmation of the plan, fees, expenses, and costs of the attorney for the debtor(s) in the amount of
             $ 1500.00 , not to exceed the maximum amount that the Chapter 13 Attorney’s Fees Order permits, will be allowed to the extent set
             forth in the Chapter 13 Attorney’s Fees Order. The attorney may file an application for fees, expenses, and costs in excess of the maximum
             amount within 10 days from entry of the order of dismissal. If the attorney for the debtor(s) has complied with the applicable provisions of
             the Chapter 13 Attorney’s Fees Order, the trustee will deliver, from the funds available, the allowed amount to the attorney.

             (h) If the case is converted to Chapter 7 after confirmation of the plan, the debtor(s) direct(s) the trustee to deliver to the attorney for the
             debtor(s), from the funds available, any allowed fees, expenses, and costs that are unpaid.

             (i) If the case is dismissed after confirmation of the plan, the trustee will pay to the attorney for the debtor(s), from the funds available, any
             allowed fees, expenses, and costs that are unpaid.

§ 4.4        Priority claims other than attorney’s fees.

                           None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.

             (a) Check one.


                           The debtor(s) has/have no domestic support obligations. If this box is checked, the rest of § 4.4(a) need not be completed or
                           reproduced.

             (b) The debtor(s) has/have priority claims other than attorney’s fees and domestic support obligations as set forth below:

    Name of creditor                                                                                     Estimated amount of claim

    Georgia Department of Revenue                                                                        $800.00

    Internal Revenue Service                                                                             $30,183.00




U.S. Bankruptcy Court, N.D. Ga. Chapter 13 Plan Form (April 2018), Version 1.3                                                             Page 6 of 8
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             Case 19-69141-sms                             Doc 2     Filed 11/30/19 Entered 11/30/19 09:23:19                     Desc Main
                                                                     Document      Page 7 of 8
  Debtor                Karlita Octavia Small                                                    Case number

  Part 5:       Treatment of Nonpriority Unsecured Claims

§ 5.1        Nonpriority unsecured claims not separately classified.

             Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata, as set forth in § 2.6. Holders of these claims
             will receive:

             Check one.

                   A pro rata portion of the funds remaining after disbursements have been made to all other creditors provided for in this plan.

                 A pro rata portion of the larger of (1) the sum of $        and (2) the funds remaining after disbursements have been made to all other
             creditors provided for in this plan.

                The larger of (1) 10      % of the allowed amount of the claim and (2) a pro rata portion of the funds remaining after disbursements
             have been made to all other creditors provided for in this plan.

                  100% of the total amount of these claims.

             Unless the plan provides to pay 100% of these claims, the actual amount that a holder receives will depend on (1) the amount of claims
             filed and allowed and (2) the amounts necessary to pay secured claims under Part 3 and trustee’s fees, costs, and expenses of the attorney
             for the debtor(s), and other priority claims under Part 4.

§ 5.2        Maintenance of payments and cure of any default on nonpriority unsecured claims.

             Check one.

                           None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

§ 5.3        Other separately classified nonpriority unsecured claims.

             Check one.

                           None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

  Part 6:       Executory Contracts and Unexpired Leases

§ 6.1        The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
             contracts and unexpired leases are rejected.

             Check one.

                           None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.



  Part 7:       Vesting of Property of the Estate

§ 7.1        Unless the Bankruptcy Court orders otherwise, property of the estate shall not vest in the debtor(s) on confirmation but will vest in
             the debtor(s) only upon: (1) discharge of the debtor(s); (2) dismissal of the case; or (3) closing of the case without a discharge upon
             the completion of payments by the debtor(s).

  Part 8:       Nonstandard Plan Provisions

§ 8.1        Check "None" or List Nonstandard Plan Provisions.

                           None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.




U.S. Bankruptcy Court, N.D. Ga. Chapter 13 Plan Form (April 2018), Version 1.3                                                         Page 7 of 8
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             Case 19-69141-sms                             Doc 2     Filed 11/30/19 Entered 11/30/19 09:23:19               Desc Main
                                                                     Document      Page 8 of 8
  Debtor                Karlita Octavia Small                                                 Case number

  Part 9:       Signatures:

§ 9.1        Signatures of Debtor(s) and Attorney for Debtor(s).

             The debtor(s) must sign below. The attorney for the debtor(s), if any, must sign below.

  X      /s/                                                                        X
         Karlita Octavia Small                                                          Signature of debtor 2 executed on
         Signature of debtor 1 executed on                  November 30, 2019


  X      /s/                                                                    Date: November 30, 2019
         Susan S. Blum GA Bar No. 111315
         Signature of attorney for debtor(s)

         Ginsberg Law Offices, P.C.
         1854 Independence Square
         Atlanta, GA 30303
         770-393-4985
         blumlawfirm@gmail.com

By filing this document, the debtor(s), if not represented by an attorney, or the attorney for debtor(s) also certify(ies) that the wording and
order of the provisions in this Chapter 13 Plan are identical to those contained in the Local Form for Chapter 13 Plans that the Bankruptcy
Court for the Northern District of Georgia has prescribed, other than any nonstandard provisions included in Part 8.




U.S. Bankruptcy Court, N.D. Ga. Chapter 13 Plan Form (April 2018), Version 1.3                                                  Page 8 of 8
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